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 5
 6   Attorney for Plaintiff: Meryl Pomponio

 7
                                  UNITED STATES DISTRICT COURT
 8
 9                             NORTHERN DISTRICT OF CALIFORNIA

10                                         OAKLAND DIVISION
11   MERYL POMPONIO,                                      Case No.:
12
                           Plaintiff,                     COMPLAINT BY MERYL POMPONIO
13                                                        AGAINST JJ FOODS INC, et al., FOR
      v.                                                  DAMAGES AND INJUNCTIVE RELIEF
14                                                        RESULTING FROM VIOLATIONS OF 1)
15   JJ FOODS INC, as an entity and doing business        TITLE III OF THE AMERICANS WITH
     as “Taqueria El Mezcal”, FRANCISCO                   DISABILITIES ACT OF 1990; 2) THE UNRUH
16   SEPULVEDA, as an individual and doing                CIVIL RIGHTS ACT; and 3) THE
     business as “Taqueria El Mezcal”, SEYOUM             CALIFORNIA DISABLED PERSONS ACT.
17   KEBEDE, ALEM MAMO, and DOES 1-50,
18   Inclusive,                                    [42 U.S.C. §§ 12101-12213; Cal. Civ. Code §§ 51,
                                                   52, 54, 54.1, 54.2 and 54.3.]
19
                           Defendants.
20
21
22          Comes now the Plaintiff, MERYL POMPONIO, (hereafter, “Mrs. Pomponio” or “Plaintiff”)
23   through her Attorney, DANIEL MALAKAUSKAS, 7345 South Durango Drive, Suite B-107-240, Las
24
     Vegas, NV 89113; Telephone: (866) 790-2242; Facsimile: (888) 802-2440; who, having been denied
25
     her civil rights, hereby respectfully alleges, avers, and complains as follows:
26
27
                 THIS COURT CAN GRANT JUSTICE TO A DISABLED INDIVIDUAL
28


               COMPLAINT BY POMPONIO AGAINST JJ FOODS INC, ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1            1.      Mrs. Pomponio was disabled by her extreme medical condition: 1) Paraneoplastic
 2
     Syndrome. Due to Mrs. Pomponio’s medical condition, Mrs. Pomponio is unable to walk and is
 3
     confined to using a mobility device to complete her day to day activities.
 4
              2.      On two occasions in 2021, Mrs. Pomponio was denied the full and equal access to a
 5
 6   public accommodation located at 14620 San Pablo Avenue, San Pablo, CA 94806.

 7            3.      Mrs. Pomponio now asks that this Court stand up for her rights under the Americans
 8
     with Disabilities Act (“ADA”), the Unruh Civil Rights Act (“UCRA”) and the California Disabled
 9
     Persons Act (“CDPA”).
10
11
       THE UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF CALIFORNIA,
12       OAKLAND DIVISION, HAS JURISDICTION AND IS THE PROPER VENUE FOR
                            PLAINTIFF TO SEEK JUSTICE
13
14            4.      The United States District Court has original federal question jurisdiction over this action

15   pursuant to 28 U.S.C. § 1331 and § 1343(a)(3) and (a)(4), for violations of the Americans with
16   Disabilities Act, 42 U.S.C. §§ 12101, et seq. This Court has supplemental jurisdiction over all state
17
     claims, including, but not limited to, claims under the Unruh Civil Rights Act, Cal. Civ. Code § 51, et
18
     seq., and/or the California Disabled Persons Act, Cal. Civ. Code §§ 54-55.3, pursuant to 28 U.S.C. §
19
20   1367 as such acts not only expressly incorporate the Americans with Disabilities Act, but such state

21   law claims also arose from the same nucleus of operative facts or transactions.
22            5.      Venue in this Court is proper under 28 U.S.C. § 1391(b)(2) as the claims alleged herein
23
     arose in the Northern District, specifically at the real property located at 14620 San Pablo Avenue, San
24
     Pablo, CA 94806.
25
26            6.      The Oakland Division of the Northern District of California, is the proper division

27   because all claims herein arose at the real property located at 14620 San Pablo Avenue, San Pablo, CA
28   94806.


                   COMPLAINT BY POMPONIO AGAINST JJ FOODS INC, ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1                                THE VICTIM AND THOSE RESPONSIBLE
 2
            7.      Mrs. Pomponio was disabled by her extreme medical condition: 1) Paraneoplastic
 3
     Syndrome. Due to Mrs. Pomponio’s medical condition, Mrs. Pomponio is unable to walk and is
 4
     confined to using a mobility device to complete her day to day activities. Mrs. Pomponio is therefore
 5
 6   a “person with a disability” and a “physically disabled person” and has a “disability” or “medical

 7   condition” pursuant to the rules and regulations of the ADA, specifically 42 U.S.C § 12102 and Cal.
 8
     Civ. Code §§ 51 and 54.
 9
            8.      Defendants, JJ FOODS INC, FRANCISCO SEPULVEDA, and Does 1-50 (hereafter,
10
     collectively or individually, “Tenant”), operate as a business establishment, hold themselves out to the
11
12   public, and do business as “Taqueria El Mezcal” at 14620 San Pablo Avenue, San Pablo, CA 94806,

13   and have substantial control over the interior and exterior of the building, the parking lot, and all spaces
14
     adjacent to such building.
15
            9.      Defendants, SEYOUM KEBEDE, ALEM MAMO, and Does 1-50 (hereafter,
16
     collectively or individually, “Landlord”, in their commercial real estate investment, owner, or landlord
17
18   capacity), own, operate, manage, and have substantial control over the real property, including the

19   interior and exterior of the building, parking lot and all spaces adjacent to the buildings located at 14620
20
     San Pablo Avenue, San Pablo, CA 94806.
21
            10.     Defendants, Does 26-50, are individuals, businesses, organizations, or entities which
22
     entered into a contract with Defendants, Tenant, Landlord, and/or Does 1-50, as property managers or
23
24   franchisees for the real property and adjacent parking lot, and as such have substantial control over the

25   real property located at 14620 San Pablo Avenue, San Pablo, CA 94806.
26
            11.     The true names and capacities of the Defendants named herein as Does 1-50, inclusive,
27
     whether individual, corporate, partnership, association, or otherwise, are unknown to Plaintiff who
28


                 COMPLAINT BY POMPONIO AGAINST JJ FOODS INC, ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1   therefore sues these Defendants by such fictitious names. Plaintiff requests leave of court to amend this
 2
     complaint to allege their true names and capacities at such times as they are ascertained.
 3
              12.   Plaintiff is informed and believes and thereon alleges that each of the Defendants,
 4
     including Does 1-50, caused and are responsible for the below described unlawful conduct and
 5
 6   resulting injuries by, among other things, personally participating in the unlawful conduct or acting

 7   jointly or conspiring with others who did so; by authorizing, acquiescing in or setting in motion
 8
     policies, plans or actions that led to the unlawful conduct; by failing to take action to prevent the
 9
     unlawful conduct; by failing and refusing with deliberate indifference to Plaintiff’s rights to equal
10
     access to public spaces; and by ratifying the unlawful conduct that occurred by agents, and officers or
11
12   entities under their direction and control.

13
14                    MRS. POMPONIO WAS DENIED EQUAL ACCESS TO A
                PUBLIC ACCOMMODATION AND NOW FIGHTS FOR ALL DISABLED
15
              13.   Mrs. Pomponio was disabled by her extreme medical condition: 1) Paraneoplastic
16
17   Syndrome. Due to Mrs. Pomponio’s medical condition, Mrs. Pomponio is unable to walk and is

18   confined to using a mobility device to complete her day to day. Mrs. Pomponio is therefore a “person
19   with a disability” and a “disabled person” and has a “disability” or “medical condition” pursuant to
20
     federal law, rules and regulations, specifically 42 U.S.C § 12102, and 28 C.F.R. § 36.104.
21
              14.   On two occasions in 2021, Mrs. Pomponio desired to go to and use the services, and/or
22
23   buy products at “Taqueria El Mezcal” which is located at 14620 San Pablo Avenue, San Pablo, CA

24   94806.
25            15.   While in the parking lot adjacent to, surrounding, or while inside the business “Taqueria
26
     El Mezcal”, Mrs. Pomponio personally encountered barriers that interfered with her ability to use and
27
     enjoy the goods, services, privileges and accommodations offered by the facilities. Specifically, while
28


                COMPLAINT BY POMPONIO AGAINST JJ FOODS INC, ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1   visiting the business establishment, on both occasions, Mrs. Pomponio had difficulty as the alleged
 2
     accessible parking stall and access aisle had improper slopes making it more difficult for her to use her
 3
     wheeled mobility device. In addition, the alleged accessible entrance door from the accessible route
 4
     was locked on both occasions when Mrs. Pomponio visited. The only door that was unlocked had a
 5
 6   step in front of the door preventing Mrs. Pomponio from entering inside.

 7           16.    Despite Mrs. Pomponio’s wish to patronize the businesses in the future, the above-
 8
     mentioned barriers constitute deterrents to access to the business, rendering the business’ goods,
 9
     services, facilities, privileges, advantages, and accommodations unavailable to physically disabled
10
     patrons such as herself.
11
12           17.    Mrs. Pomponio alleges, on information and belief, that Defendants knew that such

13   barriers existed and that Defendants’ failure to remove the barriers was intentional as the particular
14
     barriers mentioned above were intuitive and obvious. Additionally, Defendants exercised control and
15
     dominion over the condition of the real property and building and had the financial resources to remove
16
     such barriers. Furthermore, Mrs. Pomponio alleges, on information and belief, that such modifications
17
18   were readily achievable as removal of the above barriers could have been achieved without much

19   difficulty or expense.
20
             18.    Mrs. Pomponio brings this lawsuit to encourage Defendants to ensure their property is
21
     accessible to all.
22
23
                                            FIRST CLAIM
24                                VIOLATION OF TITLE III OF THE ADA
                                         (As to all Defendants)
25
26           19.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every

27   allegation contained in all prior and subsequent paragraphs.
28


                COMPLAINT BY POMPONIO AGAINST JJ FOODS INC, ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1          20.     The parking lot and building at the real property known as 14620 San Pablo Avenue,
 2
     San Pablo, CA 94806 is owned, controlled, operated, leased, and managed by Defendants: Tenant,
 3
     Landlord, Does 1-50, or their agents. The business “Taqueria El Mezcal”, including their parking lot,
 4
     are open to the general public and as such is a “public accommodation” under 42 U.S.C. § 12181 and
 5
 6   28 C.F.R. § 36.104.

 7          21.     Pursuant to 42 U.S.C. § 12182(a), by owning, leasing, or operating the public
 8
     accommodation known as “Taqueria El Mezcal”, Defendants are prohibited from discriminating
 9
     against Plaintiff by denying her, on the basis of her disability, the full and equal enjoyment of the goods,
10
     services, facilities, privileges, advantages, or accommodations offered by the facilities.
11
12          22.     In order to avoid discriminating against a disabled individual pursuant to 28 C.F.R. §

13   36.101 and § 36.102, Defendants must ensure that such public accommodation is designed, constructed,
14
     and altered in compliance with the accessibility standards established by 28 C.F.R. § 36.101 et seq.,
15
     and have proper policies, practices, and procedures to ensure that individuals with disabilities are
16
     afforded equal access to the full and equal enjoyment of the goods, services, facilities, privileges,
17
18   advantages, or accommodations offered by the public accommodation. 42 U.S.C. §§ 12181(9),

19   12182(b)(2)(A)(iv) and (v), 12183(a)(1) and (2).
20
            23.     Mrs. Pomponio was disabled by her extreme medical condition: 1) Paraneoplastic
21
     Syndrome. Due to Mrs. Pomponio’s medical condition, Mrs. Pomponio is unable to walk and is
22
     confined to using a mobility device to complete her day to day. Mrs. Pomponio is therefore a “person
23
24   with a disability” and a “disabled person” and has a “disability” or “medical condition” pursuant to

25   federal law, rules and regulations, specifically 42 U.S.C § 12102, and 28 C.F.R. § 36.104. While at
26
     the interior, exterior, parking lot, or adjacent spaces, of the business known as “Taqueria El Mezcal”,
27
28


                COMPLAINT BY POMPONIO AGAINST JJ FOODS INC, ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1   Plaintiff personally encountered a number of barriers that interfered with her ability, to use and enjoy
 2
     the goods, services, privileges and accommodations offered at the facility.
 3
            24.      Specifically, Defendants failed to ensure that such real property was equally accessible
 4
     to individuals with disabilities and medical conditions by having the following barriers at the real
 5
 6   property:

 7                a. The blank spaces of the unauthorized vehicle parking signage are not filled in with the
 8
                     appropriate information in violation of 2013 CBC 11B-502.8 and 2016 CBC 11B-
 9
                     502.8;
10
                  b. The alleged accessible parking space(s) and access aisle(s)’ slope(s) exceed two
11
12                   percent (2%) in violation of 1991 ADAAG 4.6.3, 2010 ADAS 502.4 Exception, 2013

13                   CBC 11B-502.4 Exception and 2016 CBC 11B-502.4 Exception;
14
                  c. The required accessible parking space identification signage is not provided at one or
15
                     more of the alleged accessible parking stalls in violation of 1991 ADAAG 4.6.4, 2010
16
                     ADAS 502.6, 2013 CBC 11B-502.6 and 2016 CBC 11B-502.6;
17
18                d. One or more of the alleged parking space’s access aisles are not marked with a blue

19                   borderline in violation of 2013 CBC 11B502.3.3 and 2016 CBC 11B-502.3.3;
20
                  e. There are no accessible routes provided within the site from accessible parking spaces
21
                     and accessible passenger loading zones, public streets and sidewalks, and public
22
                     transportation stops to the accessible building or facility entrance they serve in
23
24                   violation of 1991 ADAAG 4.3.2(1), 2010 ADAS 206.2.1, 2013 CBC 11B-206.2.1 and

25                   2016 CBC 11B-206.2.1;
26
                  f. An accessible route connecting accessible buildings, accessible facilities, accessible
27
                     elements, and accessible spaces on the same site is not provided in violation of 1991
28


                 COMPLAINT BY POMPONIO AGAINST JJ FOODS INC, ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1        ADAAG 4.1.2 (2), 2010 ADAS 206.2.2, 2013 CBC 11B-206.2.2 and 2016 CBC 11B-
 2
          206.2.2;
 3
      g. There is no directional signage including the ISA indicating where the accessible route
 4
          from the public sidewalk is located in violation of 2013 CBC 11B-216.6 and 2016
 5
 6        CBC 11B-216.6;

 7    h. The cross slope of the accessible route from the public sidewalk exceeds two point-
 8
          zero-eight percent (2.08%) in violation of 1991 ADAAG 4.3.7, 2010 ADAS 403.3,
 9
          2013 CBC 11B-403.3 and 2016 CBC 11B-403.3;
10
      i. The alleged accessible entrance door(s) requires more than five pounds (5 lbs.) of force
11
12        to push or pull open in violation of 2013 CBC 11B-404.2.9 and 2016 CBC 11B-

13        404.2.9;
14
      j. The entrance door surface within ten inches (10”) of the finished floor or ground
15
          surface does not have a smooth surface on the push side of the door in violation of
16
          2010 ADAS 404.2.10, 2013 CBC 11B-404.2.10 & 2016 CBC 11B-404.2.10;
17
18    k. The required maneuvering clearance of the ground in front, or behind, of the entrance

19        door exceeds two-point-zero-eight percent (2.08%) in violation of 1991 ADAAG
20
          4.13.6, 2010 ADAS 404.2.4.4, 2013 CBC 11B-404.2.4.4 and 2016 CBC 11B-
21
          404.2.4.4;
22
      l. The service counter exceeds thirty-four inches (34”) above the finished floor in
23
24        violation of 2010 ADAS 904.4.1, 2013 CBC 11B-904.4.1 and 2016 CBC 11B-904.4.1;

25    m. There are no accessible dining surfaces provided in violation of 1991 ADAAG 5.1,
26
          2010 ADAS 226.1, 2013 CBC 11B-226.1, 2016 CBC 11B-226.1.
27
28


      COMPLAINT BY POMPONIO AGAINST JJ FOODS INC, ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1          25.    As a direct and proximate cause of Defendants’ conduct, Plaintiff, on the basis of her
 2
     disabilities, was denied the opportunity to participate in or benefit from a good, service, privilege,
 3
     individuals in violation of 42 U.S.C. § 12181.
 4
            26.    Plaintiff seeks injunctive relief to prohibit Defendants’ acts and omissions as complained
 5
 6   of herein which have the effect of wrongfully discriminating against Plaintiff and other members of the

 7   public who are physically disabled from full and equal access to these public facilities. Specifically,
 8
     Plaintiff seeks injunctive relief ensuring that Defendants modify their real property to ensure that
 9
     disabled persons are not discriminated against in receiving equal access to goods, services, and facilities
10
     as other more able-bodied persons.
11
12
                                         SECOND CLAIM
13                          VIOLATIONS OF CALIFORNIA CIVIL CODE § 51
14                                     (As to all Defendants)

15          27.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every
16   allegation contained in all prior and subsequent paragraphs.
17
            28.    Any violation of the ADA 42 U.S.C. §§ 12101-12213 also constitutes a violation of Cal.
18
     Civ. Code § 51(f) and § 52(a), thus independently justifying an award of damages and injunctive relief
19
20   pursuant to California law.

21          29.    On the basis of her disabilities, Plaintiff was denied the opportunity to participate in or
22   benefit from a good, service, privilege, advantage or accommodation in a manner equal to that afforded
23
     to other non-disabled individuals which resulted in Plaintiff’s difficulty, discomfort, or embarrassment.
24
     Therefore, pursuant to Cal. Civ. Code § 55.56(a) through (c), Plaintiff is entitled to attorneys’ fees,
25
26   costs, and damages of no less than four-thousand U.S. dollars (4,000 USD) for each and every violation.

27
28


                COMPLAINT BY POMPONIO AGAINST JJ FOODS INC, ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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 1                                        THIRD CLAIM
                             VIOLATIONS OF CALIFORNIA CIVIL CODE § 54
 2
                                        (As to all Defendants)
 3
            30.     Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every
 4
     allegation contained in all prior and subsequent paragraphs.
 5
 6          31.     Any violation of the ADA 42 U.S.C. §§ 12101-12213 also constitutes a violation of Cal.

 7   Civ. Code § 54.1(d) and § 54.3(a), thus independently justifying an award of damages and injunctive
 8   relief pursuant to California law.
 9
            32.     On the basis of her disabilities, Plaintiff was denied the opportunity to participate in or
10
     benefit from a good, service, privilege, advantage or accommodation in a manner equal to that afforded
11
12   to other non-disabled individuals, which resulted in Plaintiff’s difficulty, discomfort or embarrassment.

13   Therefore, pursuant to Cal. Civ. Code § 55.56(a) through (c), Plaintiff is entitled to attorneys’ fees,
14   costs, and damages on no less than one-thousand U.S. dollars (1,000 USD) for each and every violation.
15
16                                                    PRAYER
17
     WHEREFORE, Plaintiff prays the following:
18
19          1.      For injunctive relief pursuant to 28 C.F.R. § 36.501 directing Defendants to modify their

20   facilities and policies as required by law to comply with ADA regulations, including the ADAAG
21   where required; institute policy to enable Plaintiff to use goods and services offered to the non-disabled
22
     public; provide adequate access to all citizens, including persons with disabilities; issue a permanent
23
     injunction directing Defendants to maintain their facilities usable by Plaintiff and similarly situated
24
25   person with disabilities in compliance with federal regulations, and which provide full and equal access,

26   as required by law;
27
28


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 1          2.      Retain jurisdiction over Defendants until such time as the Court is satisfied that
 2
     Defendants’ unlawful policies, practices, acts and omissions, and maintenance of inaccessible public
 3
     facilities as complained of herein no longer occur and will not recur;
 4
            3.      Award Plaintiff all appropriate damages, including, but not limited to, either statutory
 5
 6   damages of no less than four-thousand U.S. dollars (4,000 USD) for each and every violation of Cal.

 7   Civ. Code § 51, or no less than one-thousand U.S. dollars (1,000 USD) for each and every violation of
 8
     Cal. Civ. Code § 54, with either Cal. Civ. Code § 51 or § 54 being elected prior to, or at, trial, but not
 9
     both, and general damages in an amount within the jurisdiction of the Court, according to proof;
10
            4.      Award Plaintiff all litigation expenses and costs of this proceeding, and all reasonable
11
12   attorneys’ fees as provided by law, including but not limited to, 42 U.S.C. § 12205, Cal. Civ. Code §§

13   52 and 54.3; and
14
            5.      Grant such other and further relief as this Court may deem just and proper.
15
16
     Dated: December 13th, 2021
17
18                                                                  /s/ Daniel Malakauskas
                                                                    By: DANIEL MALAKAUSKAS, of,
19                                                                  MALAKAUSKAS LAW, APC,
                                                                    Attorney for PLAINTIFF
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                 COMPLAINT BY POMPONIO AGAINST JJ FOODS INC, ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

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